      Case 20-81258-BSK        Doc 11     Filed 11/16/20 Entered 11/16/20 09:50:26           Desc Main
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF:                                        ) BK. NO. 20-81258-BSK
                                                         )
DAVID K BORKOWSKI                                        ) CHAPTER 13
                             SSN: ###-##-7103            )
KIMBERLY BORKOWSKI                                       )
                             SSN: ###-##-0079            )
                                                         )
Debtors.

                         TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN

COMES NOW, KATHLEEN A. LAUGHLIN, Chapter 13 Trustee, and objects to confirmation of the plan
pursuant to 11 U.S.C. § 1324 and Neb. R. Bankr. P. 3015-2(D) for the following reason(s):

   1. The Trustee has requested the debtors to furnish additional documents. Until these documents
      are provided and an opportunity for review has occurred, the Trustee reserves all objections to
      confirmation.
   2. The debtors have not filed with the Court their pay advices for the 60 days prior to filing Chapter
      13 as required in 11 U.S.C. §521. Until these documents are provided and an opportunity for
      review has occurred, the Trustee reserves all objections to confirmation.
   3. Schedule A/B does not list an interest in life insurance policies. However, Schedule J includes a
      monthly payment for life insurance policies. Clarification is necessary.
   4. The plan does not provide treatment for the secured claim filed by Wells Fargo Bank N.A. d/b/a
      Wells Fargo Auto.

WHEREFORE, Trustee prays that the Trustee's Objection to Confirmation be sustained.

        DATED: November 16, 2020

                                                           s/ Kathleen A. Laughlin
                                                           Kathleen A. Laughlin #16883
                                                           Chapter 13 Trustee
                                                           13930 Gold Circle, Suite #201
                                                           Omaha, NE 68144
                                                           (402) 697-0437
                                                           1-800-884-0437

                                        CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the Trustee's Objection was served on
CARRIE DOLL, debtors attorney, via the CM/ECF system of the United States Bankruptcy Court and a copy
was mailed on November 16, 2020, by first-class, U.S. mail, postage prepaid to the Debtors at the addresses
listed below:

DAVID K BORKOWSKI                               KIMBERLY BORKOWSKI
28432 WAVERLY RD                                28432 WAVERLY RD
MURDOCK, NE 68407                               MURDOCK, NE 68407


                                                           s/ Kathleen A. Laughlin
                                                           Kathleen A. Laughlin
